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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION

                  Lawrence L. Piersol United States District Judge Presiding

 Courtroom Deputy - SLW                              Court Reporter – Jill Connelly
 Courtroom - SF #1                                   Date – November 18, 2019
 U.S. Probation Officer – Natalie Kaufman

                                     4:18-CR-40157-01&2

 United States of America                                     Jeremy Jehangiri

                  Plaintiff,

                     vs.

 Christopher A. Hoshaw, All Around Sports,               Mike Butler, Scott McKay
 LLC


                 Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 4:15 p.m.

 TIME:
5:37 p.m.     Enter Contested Sentencing Hearing

              Defendant Hoshaw sentenced to 5 years probation; $100 special assessment;
              restitution ordered.

6:17 p.m.     Defendant All Around Sports, LLC sentenced to 3 years probation; $42,000 fine
              delayed imposition for 2 years; $400 special assessment; restitution ordered.

6:32 p.m.     Court adjourned.
